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        1

        2

        3

        4                               UNITED STATES DISTRICT COURT
        5                          FOR THE EASTERN DISTRICT OF CALIFORNIA
        6

        7      COALITION FOR A SUSTAINABLE DELTA               1:09-cv-2024 OWW DLB
               and KERN COUNTY WATER AGENCY
        8                                                      MEMORANDUM DECISION RE
                                   Plaintiffs,                 FEDERAL DEFENDANTS’ MOTION
        9
                                                               TO DISMISS (DOC. 102)
        10                    v.

        11     FEDERAL EMERGENCY MANAGEMENT AGENCY
               and WILLIAM CRAIG FUGATE, in his
        12     official capacity as Administrator
               of the Federal Emergency Management
        13
               Agency,
        14

        15                         Defendants.

        16
                                                I. INTRODUCTION
        17
                      The Federal Emergency Management Agency and its
        18
               Administrator, William C. Fugate (“FEMA” or “Federal Defendants”)
        19
               move to dismiss Counts 14, 15, and 161 of the Second Amended
        20
               Complaint (“SAC”) pursuant to Federal Rule of Civil Procedure
        21

        22     12(b)(1) on the grounds that Plaintiffs lack Article III

        23     standing.      Doc. 102.     Plaintiffs, the Coalition for a Sustainable

        24     Delta (“Coalition”) and Kern County Water Agency (“KCWA”), oppose
        25     dismissal.      Doc. 110.     FEMA filed a reply.     Doc. 115.   Oral
        26
               argument was heard April 26, 2010.
        27
                      1
                       These three claims were severed from the remaining claims in the SAC,
        28     which challenged actions by several other federal agencies. See Doc. 100.
                                                         1


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        1                                       II. BACKGROUND

        2      A.     General Overview of the Case.

        3             This case involves a challenge to FEMA’s administration of
        4      the National Flood Insurance Program (“NFIP”) in the Sacramento-
        5
               San Joaquin Delta (“Delta”).           The Coalition is a California
        6
               corporation that represents the interests of entities and
        7
               individuals that use Delta water for agricultural purposes.            KCWA
        8
               is a California state agency that contracts for Delta water on
        9

        10     behalf of individual water districts in Kern County.          Both

        11     Plaintiffs allege that they depend on Delta water from the

        12     California State Water Project (“SWP”) and the Central Valley
        13     Project (“CVP), two of the largest water distribution systems in
        14
               California.
        15
                      The SAC was filed on July 23, 2009 against numerous federal
        16
               agencies, challenging a number of federal activities in and
        17
               around the Delta.        The claims against FEMA, asserted in Claims
        18

        19     14-16 of the SAC, were severed from the remaining claims in the

        20     SAC.    In Claims 14-16, Plaintiffs allege that FEMA’s
        21     administration of the NFIP encourages development in the Delta,
        22
               which adversely affects four species listed as threatened or
        23
               endangered under the Endangered Species Act (“ESA”):          the delta
        24
               smelt, the Sacramento River winter-run Chinook salmon, the
        25
               Central Valley spring-run Chinook salmon, and the Central Valley
        26

        27     steelhead (collectively the “Listed Species”).          Plaintiffs

        28     further allege that FEMA is administering the NFIP in violation
                                               2


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        1      of ESA Section 7, which requires federal agencies to insure, in
        2      consultation with the U.S. Fish and Wildlife Service (“FWS”) in
        3
               the case of listed terrestrial and inland fish species such as
        4
               the delta smelt and the National Marine Fisheries Service
        5
               (“NMFS”) in the case of listed marine and anadromous fish species
        6
               including listed salmonids, that their actions do not jeopardize
        7

        8      the continued existence of any listed species or destroy or

        9      adversely modify critical habitat.              See 16 U.S.C. § 1636(a)(2).

        10
               B.     Endangered Species Act.
        11
                      The ESA provides for the listing of species as threatened or
        12
               endangered.      16 U.S.C. § 1533.        ESA Section 7 directs each
        13

        14     federal agency to insure, in consultation with FWS or NMFS (the

        15     “consulting agency”), that “any action authorized, funded, or

        16     carried out by such agency ... is not likely to jeopardize the
        17     continued existence of” any listed species or destroy or
        18
               adversely modify designated critical habitat.             16 U.S.C. §
        19
               1536(a)(2).      If the agency proposing the action (“action agency”)
        20
               determines that the action “may affect” listed species or
        21

        22     critical habitat, the action agency must pursue either informal

        23     or formal consultation with the consulting agency.             50 C.F.R. §§

        24     402.13-402.14.       Formal consultation is required unless the action
        25     agency determines, with the consulting agency’s written
        26
               concurrence, that the proposed action is “not likely to adversely
        27
               affect” a listed species or critical habitat.             §§ 402.14(b)(1),
        28
                                                         3


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        1      402.13(a).      If formal consultation is required, the consulting
        2      agency must prepare a biological opinion stating whether the
        3
               proposed action is likely to “jeopardize the continued existence
        4
               of” any listed species or destroy or adversely modify critical
        5
               habitat.     16 U.S.C. § 1536(a)(2); 50 C.F.R. § 402.14.
        6

        7      C.      The National Flood Insurance Act and Program.
        8             The purpose of the National Flood Insurance Act of 1968
        9
               (“NFIA”) is to provide affordable flood insurance to the general
        10
               public and reduce the risks and costs of flood damage.             42 U.S.C.
        11
               §§ 4001(d)-(f), 4011, 4014; Flick v. Liberty Mut. Fire Ins. Co.,
        12
               205 F.3d 386, 388 (9th Cir. 2000).              To achieve these objectives,
        13

        14     the NFIA authorizes FEMA to establish and carry out the NFIP.             42

        15     U.S.C. §§ 4001(a), 4011, 4128.

        16            The NFIA directs FEMA to make flood insurance available in
        17     communities that have (1) evidenced interest in securing flood
        18
               insurance through the NFIP and (2) adopted adequate flood plain
        19
               management regulations consistent with criteria developed by
        20
               FEMA.    §§ 4012(c), 4022(a); 44 C.F.R. § 60.1(a).           The NFIA
        21

        22     mandates that FEMA design the criteria to encourage, to the

        23     maximum extent feasible, the adoption of state and local flood

        24     plain regulations that will:
        25                  (1) constrict the development of land which is exposed
                            to flood damage where appropriate,
        26
                            (2) guide the development of proposed construction away
        27                  from locations which are threatened by flood hazards,
        28
                                                         4


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        1                   (3) assist in reducing damage caused by floods, and

        2                   (4) otherwise improve the long-range land management
                            and use of flood-prone areas.
        3
               42 U.S.C. § 4102(c).         FEMA promulgated regulations setting forth
        4
               the community eligibility criteria in 1976.           41 Fed. Reg. 46,975
        5

        6      (Oct. 26, 1976); 44 C.F.R. §§ 60.1-60.26.           Flood insurance is

        7      marketed in eligible communities either directly by FEMA or

        8      through arrangements with private sector property insurance
        9      companies.      See 44 C.F.R. § 62.23(a); 42 U.S.C. § 4081.
        10
                      The NFIA also directs FEMA to implement a “community rating
        11
               system program” that provides discounts on flood insurance
        12
               premiums in communities that establish additional floodplain
        13
               management regulations that exceed FEMA’s minimum eligibility
        14

        15     criteria.      42 U.S.C. § 4022(b).        Participation in the community

        16     rating system program is entirely voluntary.            Id.

        17            Finally, the NFIA directs FEMA to undertake certain
        18     activities peripheral to the NFIP, such as the preparation of
        19
               maps of the floodplain.          The NFIA directs FEMA to “identify and
        20
               publish information with respect to all floodplain areas,
        21
               including coastal areas located in the United States,” 42 U.S.C.
        22

        23     § 4101(a), and update the maps as provided in the statute, §

        24     4101(e)-(i).       The mapping activity is based solely on technical

        25     evaluation of the base flood elevation and effectively involves
        26     drawing a topographic line around the floodplain.             See, e.g., §
        27
               4104; 44 C.F.R. § 64.3, 65.1-65.17.
        28
                                                         5


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        1                                III. STANDARD OF DECISION

        2             Federal Rule of Civil Procedure 12(b)(1) provides for
        3      dismissal of an action for “lack of jurisdiction over the subject
        4
               matter.”     Faced with a Rule 12(b)(1) motion, a plaintiff bears
        5
               the burden of proving the existence of the court’s subject matter
        6
               jurisdiction.       Thompson v. McCombe, 99 F.3d 352, 353 (9th Cir.
        7
               1996).     A federal court is presumed to lack jurisdiction in a
        8

        9      particular case unless the contrary affirmatively appears.           Gen.

        10     Atomic Co. v. United Nuclear Corp., 655 F.2d 968, 968-969 (9th

        11     Cir. 1981).
        12            A challenge to subject matter jurisdiction may be facial or
        13
               factual.     White v. Lee, 227 F.3d 1214, 1242 (9th Cir. 2000).       As
        14
               explained in Safe Air for Everyone v. Meyer, 373 F.3d 1035, 1038
        15
               (9th Cir. 2004), cert. denied, 544 U.S. 1018 (2005):
        16
                            In a facial attack, the challenger asserts that the
        17                  allegations contained in a complaint are insufficient
                            on their face to invoke federal jurisdiction. By
        18                  contrast, in a factual attack, the challenger disputes
                            the truth of the allegations that, by themselves, would
        19                  otherwise invoke federal jurisdiction.
        20     In resolving a factual attack on jurisdiction, the district court
        21
               may review evidence beyond the complaint without converting the
        22
               motion to dismiss into a motion for summary judgment.          Savage v.
        23
               Glendale Union High School, 343 F.3d 1036, 1039 n.2 (9th Cir.
        24

        25     2003), cert. denied, 541 U.S. 1009 (2004); McCarthy v. United

        26     States, 850 F.2d 558, 560 (9th Cir. 1988), cert. denied, 489 U.S.

        27     1052 (1989).       “If the challenge to jurisdiction is a facial
        28
                                                         6


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        1      attack, i.e., the defendant contends that the allegations of
        2      jurisdiction contained in the complaint are insufficient on their
        3
               face to demonstrate the existence of jurisdiction, the plaintiff
        4
               is entitled to safeguards similar to those applicable when a Rule
        5
               12(b)(6) motion is made.”           Cervantez v. Sullivan, 719 F. Supp.
        6
               899, 903 (E.D. Cal. 1989), rev’d on other grounds, 963 F.2d 229
        7

        8      (9th Cir. 1992).        “The factual allegations of the complaint are

        9      presumed to be true, and the motion is granted only if the

        10     plaintiff fails to allege an element necessary for subject matter
        11     jurisdiction.”       Id.
        12
                      The standards used to resolve motions to dismiss under Rule
        13
               12(b)(6) are relevant to disposition of a facial attack under
        14
               12(b)(1).      See Cassirer v. Kingdom of Spain, 580 F.3d 1048, 1052
        15
               n.2 (9th Cir. 2009) (applying Ashcroft v. Iqbal, 129 S. Ct. 1937
        16

        17     (2009) to a motion to dismiss for lack of subject matter

        18     jurisdiction).       Dismissal under Rule 12(b)(6) is appropriate
        19     where the complaint lacks sufficient facts to support a
        20
               cognizable legal theory.          Balistreri v. Pacifica Police Dep't,
        21
               901 F.2d 696, 699 (9th Cir. 1990).              To sufficiently state a claim
        22
               to relief and survive a 12(b)(6) motion, the pleading “does not
        23
               need detailed factual allegations” but the “[f]actual allegations
        24

        25     must be enough to raise a right to relief above the speculative

        26     level.”     Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).

        27     Mere “labels and conclusions” or a “formulaic recitation of the
        28
                                                         7


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        1      elements of a cause of action will not do.”              Id.   Rather, there
        2      must be “enough facts to state a claim to relief that is
        3
               plausible on its face.”          Id. at 570.      In other words, the
        4
               “complaint must contain sufficient factual matter, accepted as
        5
               true, to state a claim to relief that is plausible on its face.”
        6
               Iqbal, 129 S. Ct. at 1949 (internal quotation marks omitted).
        7

        8      The Ninth Circuit has summarized the governing standard, in light

        9      of Twombly and Iqbal, as follows: “In sum, for a complaint to

        10     survive a motion to dismiss, the non-conclusory factual content,
        11     and reasonable inferences from that content, must be plausibly
        12
               suggestive of a claim entitling the plaintiff to relief.”               Moss
        13
               v. U.S. Secret Serv., 572 F.3d 962, 969 (9th Cir. 2009) (internal
        14
               quotation marks omitted).
        15
                      The Twombly/Iqbal standard as articulated in Moss is
        16

        17     consistent with Ninth Circuit precedent requiring, “[t]he party

        18     seeking to invoke the jurisdiction of the federal Courts” to
        19     allege at the pleading stage “specific facts sufficient to
        20
               satisfy” all of the elements of standing for each claim he seeks
        21
               to press.      Schmier v. U.S. Court of Appeals for Ninth Circuit,
        22
               279 F.3d 817, 821 (9th Cir. 2002).              “A federal court is powerless
        23
               to create its own jurisdiction by embellishing otherwise
        24

        25     deficient allegations of standing.”              Whitmore v. Arkansas, 495

        26     U.S. 149, 155-56, (1990).           “It is a long-settled principle that

        27     standing cannot be inferred argumentatively from averments in the
        28
                                                         8


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        1      pleadings.”      FW/PBS, Inc. v. City of Dallas, 493 U.S. 215, 231
        2      (1990).      “The facts to show standing must be clearly apparent on
        3
               the face of the complaint.”           Baker v. United States, 722 F.2d
        4
               517, 518 (9th Cir. 1983).           However, contrary to Federal
        5
               Defendant’s assertions, the factual allegations need not be made
        6
               with particularity beyond that required by Twombly/Iqbal.
        7

        8      Applying Moss, 572 F.3d at 969, standing may be based on “non-

        9      conclusory factual content, and reasonable inferences from that

        10     content,” in the complaint that are “plausibly suggestive” of the
        11     existence of standing.2
        12

        13                                       IV. ANALYSIS

        14     A.     General Legal Standard Re: Standing.

        15            Standing is a judicially created doctrine that is an

        16     essential part of the case-or-controversy requirement of Article

        17     III.       Pritikin v. Dept. of Energy, 254 F.3d 791, 796 (9th Cir.
        18     2001).      “To satisfy the Article III case or controversy
        19

        20            2
                       Plaintiffs point to somewhat contradictory language in Lujan v.
               Defenders of Wildlife, 504 U.S. 555, 561 (1992), which held: “general factual
        21     allegations of injury resulting from the defendant’s conduct may suffice,” at
               the pleading stage. See also Bennett v. Spear, 520 U.S. 154, 171
        22     (1997)(explaining that at the pleading stage a plaintiff’s burden is
               “relatively modest”). But, these holdings, issued before the Supreme Court’s
        23     paradigm-shifting ruling in Iqbal, are not inconsistent with the approach
               taken in Moss, in which the Ninth Circuit articulated how to apply Iqbal in
        24     practice.
                     At the same time, Iqbal does not require specificity on the order of
        25     that required under Rule 9. To survive a motion to dismiss, a plaintiff must
               plead “factual content that allows the court to draw the reasonable inference
        26     that the defendant is liable for the misconduct alleged.” 129 S. Ct. at 1949.
               Thus, while something more than “labels and conclusions” or “a formulaic
        27     recitation of the elements of a cause of action” are required, “the pleading
               standard Rule 8 announces does not require ‘detailed factual allegations.’”
        28     Id. (emphasis added).
                                                         9


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        1      requirement, a litigant must have suffered some actual injury
        2      that can be redressed by a favorable judicial decision.”             Iron
        3
               Arrow Honor Soc. v. Heckler, 464 U.S. 67, 70 (1984).           “In essence
        4
               the question of standing is whether the litigant is entitled to
        5
               have the court decide the merits of the dispute or of particular
        6
               issues.”     Warth v. Seldin, 422 U.S. 490, 498 (1975).
        7

        8             The doctrine of standing “requires careful judicial

        9      examination of a complaint’s allegations to ascertain whether the

        10     particular plaintiff is entitled to an adjudication of the
        11     particular claims asserted.”           Allen v. Wright, 468 U.S. 737, 752
        12
               (1984).     The court is powerless to create its own jurisdiction by
        13
               embellishing otherwise deficient allegations of standing.
        14
               Whitmore, 495 U.S. at 155-56; Schmier, 279 F.3d at 821.          To have
        15
               standing, a plaintiff must show three elements.
        16

        17                  First, the plaintiff must have suffered an “injury in
                            fact” -- an invasion of a legally protected interest
        18                  which is (a) concrete and particularized and (b) actual
                            or imminent, not conjectural or hypothetical. Second,
        19                  there must be a causal connection between the injury
                            and the conduct complained of -- the injury has to be
        20                  fairly traceable to the challenged action of the
                            defendant, and not the result of the independent action
        21                  of some third party not before the court. Third, it
                            must be likely, as opposed to merely speculative, that
        22                  the injury will be redressed by a favorable decision.

        23     Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992)

        24     (internal citations and quotations omitted).
        25            The Supreme Court has described a plaintiff’s burden of
        26
               proving standing at various stages of a case as follows:
        27
                            Since [the standing elements] are not mere pleading
        28                  requirements but rather an indispensable part of the
                                                  10


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        1                   plaintiff’s case, each element must be supported in the
                            same way as any other matter on which the plaintiff
        2                   bears the burden of proof, i.e., with the manner and
                            degree of evidence required at the successive stages of
        3                   the litigation. At the pleading stage, general factual
                            allegations of injury resulting from the defendant’s
        4                   conduct may suffice, for on a motion to dismiss we
                            presume that general allegations embrace those specific
        5                   facts that are necessary to support the claim. In
                            response to a summary judgment motion, however, the
        6                   plaintiff can no longer rest on such “mere
                            allegations,” but must “set forth” by affidavit or
        7                   other evidence “specific facts,” Fed. Rule Civ. Proc.
                            56(e), which for purposes of the summary judgment
        8                   motion will be taken to be true. And at the final
                            stage, those facts (if controverted) must be supported
        9                   adequately by the evidence adduced at trial.

        10     Id. at 561; see also Churchill County v. Babbitt, 150 F.3d 1072,
        11     1077 (9th Cir. 1998).
        12
                      In addition, where an organization or association is
        13
               bringing suit on behalf of its members, that organization or
        14
               association must demonstrate that: (1) its members would
        15
               otherwise have standing to sue in their own right; (ii) the
        16

        17     interests it seeks to protect are germane to the organization’s

        18     purpose; and (iii) neither the claim asserted nor the relief

        19     requested requires the participation of individual members in the
        20     lawsuit.     Friends of the Earth, Inc. v. Laidlaw Envtl. Servs.
        21
               (TOC), Inc., 528 U.S. 167, 181 (2000).
        22
                      Standing is evaluated on a claim-by-claim basis.        “A
        23
               plaintiff must demonstrate standing ‘for each claim he seeks to
        24
               press’ and for ‘each form of relief sought.’”         Oregon v. Legal
        25

        26     Servs. Corp., 552 F.3d 965, 969 (9th Cir. 2009) (quoting

        27     DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 352 (2006)).
        28
                                                         11


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        1      “[S]tanding is not dispensed in gross....”         Lewis v. Casey, 518
        2      U.S. 343, 358, n.6 (1996).
        3
                            The actual-injury requirement would hardly serve the
        4                   purpose ... of preventing courts from undertaking tasks
                            assigned to the political branches[,] if once a
        5                   plaintiff demonstrated harm from one particular
                            inadequacy in government administration, the court were
        6                   authorized to remedy all inadequacies in that
                            administration.
        7
               Id. at 357.      Plaintiffs must therefore demonstrate standing for
        8
               each aspect of FEMA’s administration of NFIP that they seek to
        9
               challenge, including FEMA’s develop[ment of] the minimum
        10
               eligibility criteria” in 1976, “determining whether communities
        11

        12     satisfy such criteria, updating maps, ... administering the

        13     community rating system,” and issuing or authorizing the issuance

        14     of flood insurance.         SAC ¶¶ 216, 199-203, 209, 221.
        15

        16

        17     B.     Summary of Relevant Allegations in the SAC.

        18            1.    Allegations Regarding the Impact of the FEMA Flood
                            Insurance Program on the Listed Species.
        19
                      The SAC alleges that numerous factors are currently
        20
               contributing to the decline of the Delta and the Listed Species
        21
               that live in, migrate through, or otherwise depend on the Delta
        22
               for their survival and continued existence.         SAC ¶3.
        23

        24     Discretionary actions and programs implemented by FEMA and other

        25     federal agencies may have adverse effects on the Listed Species
        26     and their critical habitat within the Delta.         SAC ¶6.   Plaintiffs
        27
               contend that FEMA has undertaken certain activities in violation
        28
                                                         12


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        1      of Section 7(a) of the ESA, by failing to consult with FWS and/or
        2      NMFS.    Id.
        3
                      FEMA administers the NFIP, which offers subsidized flood
        4
               insurance to property owners in eligible local communities.              SAC
        5
               ¶¶ 10, 197-203.       It is alleged that this subsidized flood
        6
               insurance leads to additional development in the flood-prone
        7

        8      areas of the Delta.         SAC ¶¶ 10, 204.     Development in the Delta

        9      adversely impacts on the Listed Species by reducing habitat and

        10     increasing urban runoff that may be contaminated with substances
        11     harmful to the Listed Species.            SAC ¶¶ 10, 52, 206-208.
        12
                      Under the NFIP, local communities only become eligible for
        13
               flood insurance once they have adopted “adequate land use and
        14
               control measures” that are consistent with criteria developed by
        15
               FEMA.    SAC ¶197.      The criteria are designed to reduce threats to
        16

        17     lives and to minimize damage to structures and water systems;

        18     they do not address aquatic habitat, threatened or endangered
        19     species, or other environmental values.            SAC ¶200.
        20
                      FEMA regulates NFIP-participating communities to ensure that
        21
               they are complying with the program and its eligibility
        22
               requirements.       SAC ¶202.     FEMA conducts community visits to
        23
               assess local programs and provide technical assistance to local
        24

        25     officials.      If a community fails to enforce minimum land-use

        26     regulations, FEMA may place the community on probation or suspend

        27     its participation in the Flood Insurance Program.              Id.   The NFIA
        28
                                                         13


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        1      prohibits other federal agencies from providing loans to property
        2      owners in communities that do not participate in the NFIP.              SAC
        3
               ¶204.    Federally-regulated banks are also prohibited from making,
        4
               increasing, extending, or renewing any loan secured by property
        5
               located within a floodplain area unless that property is covered
        6
               by flood insurance.         Id.   Thus, the SAC alleges, development
        7

        8      within flood-prone areas is inextricably tied to participation in

        9      the NFIP.      Id.

        10             FEMA further promotes development by providing discounted
        11     flood insurance to communities that adopt land-use regulations
        12
               that go beyond NFIP eligibility requirements.            SAC ¶¶ 203, 210.
        13
               These discounts are granted by a Community Rating System
        14
               implemented by FEMA which “also rewards activities that are
        15
               detrimental to floodplains and aquatic species.”            SAC ¶203,
        16

        17     quoting Nat’l Wildlife Fed’n v. Fed. Emergency Mgmt. Agency, 345

        18     F. Supp. 2d 1151, 1157 (W.D. Wash. 2004).
        19             Currently, there are 15 communities in the Delta that
        20
               participate in the NFIP.          SAC ¶205.     In 2007, the Public Policy
        21
               Institute of California estimated that over 130,000 new homes
        22
               were in the planning stages in the Delta.            SAC ¶206.   In the
        23
               years since the listing of the Listed Species, FEMA has issued
        24

        25     hundreds of new individual flood insurance policies for new

        26     structures within floodplains utilized by and relied upon by the

        27     Listed Species, without consulting with the Fish and Wildlife
        28
                                                         14


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        1      Service or the National Marine Fisheries Service.            SAC ¶205.
        2      FEMA also continues to revise flood maps, assure community
        3
               compliance, and review local regulations under the NFIP without
        4
               consulting under the ESA.           Id.
        5
                      The SAC alleges that FEMA’s actions under the NFIP impact
        6
               the Listed Species by leading to increased development, which (a)
        7

        8      destroys the habitat of the Listed Species by converting tidal

        9      wetlands to upland development, and (b) increases wastewater and

        10     urban runoff from lawns, sidewalks, and roads, which contains
        11     pesticides and other contaminants that harm the Listed Species.
        12
               SAC ¶¶ 207-208, 210.         Further, land use activities associated
        13
               with the increased development, such as road construction,
        14
               recreation, and agriculture, have significantly altered fish
        15
               habitat quantity and quality by modifying stream bank and channel
        16

        17     morphology, altering water temperatures, and eliminating spawning

        18     and rearing habitat.         SAC ¶208.
        19
                      2.    Allegations Regarding the Interest of the Coalition for
        20                  a Sustainable Delta and Injury to Coalition Members
                            from FEMA’s Actions.
        21
                      According to the SAC, the Coalition is comprised of
        22

        23     individual and agricultural water uses and of individuals in the

        24     San Joaquin Valley and brings the action on behalf of the

        25     Coalition and its members.           SAC ¶16.   The Coalition and its
        26     members allegedly depend on water from the Delta to support their
        27
               livelihoods and economic well-being.            Id.   The complaint further
        28
                                                         15


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        1      alleges that the Purposes of the Coalition are to (1) better the
        2      conditions of those engaged in agricultural pursuits in the San
        3
               Joaquin Valley and (2) ensure a sustainable and reliable water
        4
               supply by protecting the Delta and promoting a strategy to ensure
        5
               its sustainability.         Id.
        6
                      Certain Coalition members have contracts for delivery of
        7

        8      water from the SWP and rely on the deliveries of water from the

        9      Delta.     SAC ¶17.     Accordingly, the Coalition alleges that its

        10     members claim to have a long-term interest in the overall health
        11     of the Delta and its ecosystem, including the maintenance of
        12
               viable populations of the Listed Species.        Id.   In addition,
        13
               reduced deliveries of water from the SWP will result in overdraft
        14
               of the groundwater basins that underlie the lands of Coalition
        15
               members.     SAC ¶18.     The SAC alleges that reduced water
        16

        17     availability and reduced deliveries of SWP water have economic

        18     impacts on members of the Coalition because such members are
        19     required to pay for the full contractual entitlement, even if the
        20
               entitlement is not delivered and because the members must develop
        21
               other sources of water for irrigation of their crops or forego
        22
               irrigation altogether thus impacting their livelihood.          Id.
        23
                      The Coalition also claims that its members view, enjoy, and
        24

        25     use the Delta ecosystem by routinely engaging in various

        26     recreational activities in the Delta, including boating, fishing,

        27     and wildlife viewing, and have concrete plans to continue to do
        28
                                                         16


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        1      so in the future.        SAC ¶19.     It is alleged that Coalition members
        2      derive significant use and enjoyment from the aesthetic,
        3
               recreational, and conservation benefits of the Delta ecosystem,
        4
               including the delta smelt and other Listed Species, and that the
        5
               decline of the Listed Species has had and continues to have a
        6
               substantial negative impact on Coalition members, impairing their
        7

        8      use and enjoyment of the Delta and the Listed Species.               Id.

        9
                      3.    Allegations Regarding the Interest of and Injury to
        10                  KCWA from FEMA’s Actions.

        11            KCWA is a public agency charged by the California

        12     Legislature with the power to acquire and contract for water
        13     supplies for Kern County.           SAC ¶21.    KCWA provides a portion of
        14
               and in some cases the entire water supply for approximately
        15
               719,000 acres of farmland and 500,000 residents of Kern County.
        16
               KCWA depends on SWP deliveries from the Delta for 98 percent of
        17
               its water supply.        SAC ¶23.     The operation of the State Water
        18

        19     Project is, in turn, dependent on the overall health of the Delta

        20     and its ecosystem, which includes the maintenance of viable
        21     populations of species living in the Delta and protected by the
        22
               ESA, including the Listed Species.              Id.   The SAC alleges that
        23
               FEMA’s ESA violations have injured KCWA by reducing the amount of
        24
               water available to KCWA.          SAC ¶24.
        25

        26     C.     Economic/Water Supply Injury Theory of Standing.
        27            1.    Injury-In-Fact.
        28
                                                         17


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        1             Federal Defendants concede that Plaintiffs’ allegations that
        2      FEMA’s administration of the NFIP provides an “incentive” for
        3
               third parties to engage in development, recreation, and
        4
               agriculture that adversely affect the Listed Species must be
        5
               assumed true for purposes of a facial 12(b)(1) challenge.
        6
               Nevertheless, Federal Defendants maintain that Plaintiffs have
        7

        8      failed to allege how the operation of any such incentive

        9      translates into economic injury to the plaintiffs themselves.

        10     “The relevant showing for purposes of Article III standing,
        11     however, is not injury to the environment but injury to the
        12
               plaintiff.”       Friends of the Earth v. Laidlaw Envtl. Servs. (TOC),
        13
               Inc., 528 U.S. 167, 181 (2000) (emphasis added).           “[T]he injury
        14
               that a plaintiff alleges must be unique to that plaintiff, one in
        15
               which he has a ‘personal stake’ in the outcome of a litigation
        16

        17     seeking to remedy that harm.”            Schmier, 279 F.3d at 821.   “In

        18     addition, the plaintiff must have sustained a concrete injury,
        19     distinct and palpable ... as opposed to merely abstract.... And
        20
               that injury must have actually occurred or must occur imminently;
        21
               hypothetical, speculative or other possible future injuries do
        22
               not count in the standings calculus.”            Id. (internal citations
        23
               and quotations omitted).
        24

        25
                            a.     Sufficiency of Allegations of Economic Harm.
        26
                      Federal Defendants argue that Plaintiffs claims of economic
        27
               injury are insufficient.          The SAC alleges that KCWA and
        28
                                                         18


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        1      unidentified Coalition members have suffered monetary harm as a
        2      result of a reduction in the availability of Delta water.            SAC ¶¶
        3
               16-18, 21-24.       Specifically, KCWA alleges that it “has a contract
        4
               with the State of California for a supply of water from the SWP,”
        5
               SAC ¶77, and that “KCWA’s contract for delivery of SWP water
        6
               requires payment for its full contract amount regardless of the
        7

        8      amount of water actually delivered in any given year through the

        9      SWP,” SAC ¶22.       Like KCWA, the Coalition alleges that some of the

        10     unidentified contracts for SWP water held by its members “require
        11     payment for their full contractual entitlement regardless of the
        12
               amount of water actually delivered in any given year through the
        13
               SWP,” and that “[r]educed water availability and reduced
        14
               deliveries of SWP water have an economic impact on members of the
        15
               Coalition because such members are required to pay for the full
        16

        17     contractual entitlement, even if the entitlement is not delivered

        18     and because the members must develop other sources of water for
        19     irrigation of their crops or forego irrigation altogether thus
        20
               impacting their livelihood,” with additional adverse
        21
               consequences.       SAC ¶18.
        22
                      Federal Defendants complain, however, that neither KCWA nor
        23
               the Coalition allege any of its members have actually paid their
        24

        25     full contract amount in any particular year, despite not

        26     receiving its full entitlement of SWP water, due to some

        27     particular action of the federal government.        Nor do Plaintiffs
        28
                                                         19


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        1      allege that such a scenario is imminent.        Federal Defendants
        2      insist that to establish the requisite “personal stake in the
        3
               outcome,” the Supreme Court has “required Plaintiff-organizations
        4
               to make specific allegations establishing that at least one
        5
               identified member had suffered or would suffer harm.”          Summers v.
        6
               Earth Island Institute, 129 S. Ct. 1142, 1151-52 (2009).
        7

        8             Federal Defendants rely on Bennett v. Spear, 520 U.S. 154

        9      (1997), in which plaintiffs challenged FWS’s biological opinion

        10     regarding the Bureau of Reclamation’s operation of the Klamath
        11     Irrigation Project.         The biological opinion identified certain
        12
               reasonable and prudent alternatives that would avoid jeopardy,
        13
               including maintaining minimum water levels in the reservoirs from
        14
               which Plaintiffs “currently receive[d] irrigation water.”            Id. at
        15
               159, 167.      It was specifically alleged that the restrictions
        16

        17     imposed in the biological opinion “adversely affect [plaintiffs]

        18     by substantially reducing the quantity of available irrigation
        19     water.”     Id. at 167.
        20
                      Federal Defendants maintain that the SAC’s “vague
        21
               allegations bear no resemblance to the specific allegations of
        22
               immediate harm advanced by the plaintiffs in Bennett,” noting
        23
               that the Coalition merely alleges that “[c]ertain Coalition
        24

        25     members have contracts with various agencies for the delivery of

        26     SWP and CVP water” and that “[c]ertain Coalition members’

        27     contracts for delivery of SWP water require payment for their
        28
                                                         20


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        1      full contractual entitlement regardless of the amount of water
        2      actually delivered in any given year through the SWP.”           Doc. 115
        3
               at 6 (citing SAC ¶¶ 17-18).           Federal Defendants seem to be
        4
               demanding that the complaint:            (a) identify the names of specific
        5
               members of the Plaintiff organizations, (b) describe the nature
        6
               of these members’ contracts for water from the Delta, and (c)
        7

        8      allege that these members actually received reduced water

        9      deliveries under their contracts due to some specific action of

        10     FEMA, or that such a scenario is imminent.
        11            First, it is not necessary to identify specific names of
        12
               members at the pleading stage.            See NW Envt’l Defense Ctr v.
        13
               Brown, 476 F. Supp. 2d 1188, 1192 (D. Or. 2007) (finding
        14
               sufficient general allegations that organization’s members use
        15
               the bodies of water in question for recreation and that at least
        16

        17     one member has been injured by defendant’s conduct and

        18     acknowledging that the vast majority of cases requiring
        19     individual members to come forward were decided on motions for
        20
               summary judgment.).
        21
                      Second, although “[a]llegations of possible future injury do
        22
               not satisfy the requirements of Art[icle] III,” Whitmore, 495
        23
               U.S. at 158, Plaintiffs need not show actual harm; “an increased
        24

        25     risk of harm can itself be injury in fact sufficient for

        26     standing,” Ecological Rights Found. v. Pac. Lumber Co., 230 F.3d

        27     1141, 1151 (9th Cir. 2000); see also Ocean Advocates v. U.S. Army
        28
                                                         21


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        1      Corps of Eng’rs, 402 F.3d 846, 860 (9th Cir. 2004).                In Ocean
        2      Advocates, the U.S. Army Corps of Engineers authorized the
        3
               expansion of an oil refinery dock without first preparing an
        4
               environmental impact statement pursuant to the National
        5
               Environmental Policy Act.           Id. at 855.     The Ninth Circuit
        6
               concluded that plaintiffs, who expressed aesthetic and
        7

        8      environmental concerns for the affected area, demonstrated injury

        9      in fact because the dock extension would result in increased

        10     traffic, which would increase the potential for an oil spill, and
        11     an “oil spill would cause a markedly decreased opportunity for
        12
               [plaintiffs] to study the ecological area, observe wildlife, and
        13
               use Cherry Point for recreation.”               Id. at 859-60.   To “‘require
        14
               actual evidence of environmental harm, rather than an increased
        15
               risk ...would unduly limit the enforcement of statutory
        16

        17     environmental protections.”           Id. (quoting Ecological Rights

        18     Found., 230 F.3d at 1151)).
        19            In general, the allegations in the SAC satisfy this
        20
               requirement by alleging that KCWA and Coalition members rely on
        21
               water from the Delta for their livelihood and economic well-
        22
               being.     SAC ¶¶ 16-17, 21-23.        KCWA and Coalition members hold
        23
               contracts for the delivery of water from the Delta that require
        24

        25     payment for the full contractual entitlement regardless of the

        26     amount of water actually delivered in any given year.               SAC ¶¶ 18,

        27     22.    The Complaint also alleges that the combined operation of
        28
                                                         22


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        1      the Projects is dependent on the overall health of the Delta and
        2      its ecosystem, which includes the maintenance of viable
        3
               populations of the Listed Species.              SAC ¶23.    Further, it is
        4
               alleged that FEMA’s implementation and enforcement of the Flood
        5
               Insurance Program has contributed to the decline of the Listed
        6
               Species, SAC ¶¶ 6, 10, 52, 197-210, which in turn injures
        7

        8      Plaintiffs by contributing to conditions that require reductions

        9      in the Projects’ water supply and in the amount of water

        10     available to Plaintiffs, SAC ¶¶ 18, 24.
        11
                            b.     KCWA’s Status as a Wholesaler.
        12
                      However, Federal Defendants also argue that allegations in
        13

        14     the complaint concerning KCWA actually contradict their

        15     assertions of economic harm.           Specifically, KCWA alleges that it

        16     is a “wholesaler of SWP water for both agricultural and municipal
        17     and industrial uses.         KCWA contracts with 13 separate water
        18
               districts in Kern County, which supply SWP water directly to
        19
               water users for agricultural use.”              SAC ¶ 21.   In other words,
        20
               KCWA is not an end-user of SWP water, nor does it purport to
        21

        22     represent the agencies with which it contracts.               The SAC does not

        23     indicate whether the costs of KCWA’s contract with DWR are passed

        24     on to the 13 individual water districts –- in which case KCWA
        25     itself would never suffer any monetary injury under its contract
        26
               with DWR regardless of how much SWP water it receives in any
        27
               particular year.        See Kern County Water Agency v. Belridge Water
        28
                                                         23


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        1      Storage Dist., 18 Cal. App.4th 77, 22 Cal. Rptr. 2d 354, 355
        2      (Cal. App. 5 Dist.,1993) (noting that “[t]he water supply
        3
               contracts [between KCWA and the member districts] are
        4
               substantially identical and each expressly incorporated by
        5
               reference the terms of the Master Contract [between KCWA and
        6
               DWR]”).3     While the member districts who actually pay for the
        7

        8      water might suffer some type of economic harm if the amount of

        9      water delivered under the DWR-KCWA contract is reduced (assuming

        10     the districts do not further pass on their costs to end-users),
        11     the SAC suggests KCWA itself does not suffer any type economic
        12
               injury, absent allegations to the contrary such as KCWA being
        13
               charged for water it does not receive, which charge is not passed
        14
               on to its districts.
        15
                      However, in addition to allegations of economic harm, KCWA
        16

        17     alleges that its central purpose is to acquire and contract for

        18     water supplies for the different water districts in Kern County
        19     and that reduced water availability threatens KCWA’s ability to
        20
               serve its central function.           This stand-alone allegation of
        21
               injury is unaffected by KCWA’s status as a wholesaler.
        22

        23           3
                       Federal Defendants further complain that the SAC does not disclose the
        24     purported amount of any alleged monetary loss KCWA has suffered or imminently
               will suffer due to any purported federal interference with its DWR contract.
               Federal Defendants suggest that such “specific facts” are required to defeat a
        25     motion to dismiss on standing grounds. This reads too much into the standing
               pleading requirements. Federal Defendants fail to point to any authority that
        26     requires this level of specificity. It is sufficient that the “non-conclusory
               factual content, and reasonable inferences from that content,” are “plausibly
        27     suggestive” of the existence of a financial injury. See Moss, 572 F.3d at
               969.
        28
                                                         24


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        1             The Coalition and KCWA satisfy the injury-in-fact
        2      requirement.
        3

        4             2.    Causation & Redressibility.

        5                   a.     Relaxed Standard in Procedural Injury Cases.

        6             When a plaintiff seeks to vindicate a procedural harm,

        7      rather than a substantive right, the causation and redressibility

        8      requirements are relaxed:
        9                   A showing of procedural injury lessens a plaintiff’s
                            burden on the last two prongs of the Article III
        10
                            standing inquiry, causation and redressibility.
        11                  Plaintiffs alleging procedural injury must show only
                            that they have a procedural right that, if exercised,
        12                  could protect their concrete interests.
        13     Salmon Spawning & Recovery Alliance v. Gutierrez, 545 F.3d 1220,
        14     1226 (9th Cir. 2008) (emphasis in original) (internal citations
        15
               and quotations omitted).
        16
                      Defenders of Wildlife v. EPA, 420 F.3d 946, 957-58 (9th Cir.
        17
               2005) (“DOW v. EPA”), reversed on other grounds by National
        18
               Association of Home Builders v. Defenders of Wildlife, 551 U.S.
        19

        20     644 (2007), applied this relaxed standard to a claim brought

        21     under the ESA alleging lack of adequate consultation under
        22     Section 7(a)(2).        One ground for challenge of the consultation
        23
               process in DOW v. EPA was that the action agency relied on a
        24
               “legally improper Biological Opinion.”          Id.   The Ninth Circuit
        25
               concluded that plaintiffs had standing to challenge the agency
        26
               action because “the use of an improper section 7 consultation by
        27

        28     reason of an inadequate biological opinion lessens the likelihood
                                               25


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        1      that the impact of the proposed action on listed species and
        2      their habitats will be recognized and accounted for in making the
        3
               transfer decision.”         Id. at 958.         The Ninth Circuit categorized
        4
               as “procedural” a section 7(a)(2) claim that the action agency
        5
               improperly relied upon an inadequate biological opinion.
        6
               Likewise, the failure to engage in the Section 7 consultation
        7

        8      process is “procedural.”

        9             But, the reach of this relaxed standard has limits, excusing

        10     a plaintiff only from the requirement to plead that the
        11     procedurally invalid agency action will, in fact, be modified
        12
               once the proper procedures are followed:
        13
                            There is this much truth to the assertion that
        14                  “procedural rights” are special: The person who has
                            been accorded a procedural right to protect his
        15                  concrete interests can assert that right without
                            meeting all the normal standards for redressability and
        16                  immediacy. Thus, under our case law, one living
                            adjacent to the site for proposed construction of a
        17                  federally licensed dam has standing to challenge the
                            licensing agency's failure to prepare an environmental
        18                  impact statement, even though he cannot establish with
                            any certainty that the statement will cause the license
        19                  to be withheld or altered, and even though the dam will
                            not be completed for many years. (That is why we do not
        20                  rely, in the present case, upon the Government's
                            argument that, even if the other agencies were obliged
        21                  to consult with the Secretary, they might not have
                            followed his advice.)
        22
               Lujan, 504 U.S. at 573 n.7 (1992).
        23
                      Similarly, in Summers, plaintiffs claimed that the Forest
        24
               Service deprived them of their alleged statutory right to comment
        25

        26     on a timber sale.        The Supreme Court held that plaintiffs

        27     adequately alleged standing to challenge the project by “claiming
        28
                                                         26


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        1      that but for the allegedly unlawful abridged procedures they
        2      would have been able to oppose the project that threatened to
        3
               impinge on their concrete plans to observe nature in that
        4
               specific area.”       129 S. Ct. at 1151.       In cases involving
        5
               procedural injuries the normal standards for redressability and
        6
               immediacy may be relaxed such that “standing existed with regard
        7

        8      to the [project,] for example, despite the possibility that

        9      [plaintiff’s] allegedly guaranteed right to comment would not be

        10     successful in persuading the Forest Service to avoid impairment
        11     of Earth Island’s concrete interests.”            Id.; see also Salmon
        12
               Spawning & Recovery Alliance v. Gutierrez, 545 F.3d 1220, 1226-27
        13
               (9th Cir. 2008) (noting that “[p]laintiffs alleging procedural
        14
               injury can often establish redressibility with little difficulty,
        15
               because they need to show only that the relief requested –- that
        16

        17     the agency follow the correct procedures -– may influence the

        18     agency's ultimate decision of whether to take or refrain from
        19     taking a certain action”) (emphasis added).
        20
                      Under these cases, it may be assumed at the pleading stage,
        21
               that, if Plaintiffs’ succeed, FEMA would have to change the
        22
               manner in which it administers the NFIP; that the change would
        23
               lead third-party developers to change or limit their development
        24

        25     activities; and that this change would lessen the alleged adverse

        26     impacts of development on listed species in the Delta.            However,

        27     Plaintiffs’ claimed injuries are allegedly caused by water
        28
                                                         27


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        1      restrictions imposed by the consulting agencies as a result of a
        2      wholly independent administrative process: the ESA consultation
        3
               between the Bureau of Reclamation and the consulting agencies on
        4
               coordinated CVP and SWP operations.               SAC ¶¶ 5 82-87, 118-127;
        5
               Pl.’s Opp. at 13-14.         The relaxed immediacy and redressability
        6
               standards in procedural injury cases “presume that the defendant
        7

        8      agency has the authority and ability to redress the plaintiff's

        9      ultimate injury.”        Goat Ranchers of Oregon v. Williams, 2009 WL

        10     883581, at *2, *10 (D. Or. March 30, 2009).               “The redressability
        11     requirement is not toothless in procedural injury cases.”                 Id.
        12
               (quoting Salmon Spawning, 545 F.3d at 1227).                “There must still
        13
               be some possibility that granting the requested relief will have
        14
               an effect on the ultimate injury alleged.”                Id. (citing Salmon
        15
               Spawning, 545 F.3d at 1227).
        16

        17            In standard (i.e., non procedural-injury) cases, “[t]here is

        18     no redressability, and thus no standing, where ... any
        19     prospective benefits depend on an independent actor who retains
        20
               broad and legitimate discretion the courts cannot presume either
        21
               to control or to predict.”           Glanton v. Advancepcs Inc., 465 F.3d
        22
               1123, 1125 (9th Cir. 2006).           Nothing in the procedural-injury
        23
               jurisprudence relaxes this rule.                See Nuclear Information
        24

        25     Resource Service v. Nuclear Regulatory Commission, 457 F.3d 941,

        26     955 (9th Cir. 2006) (“NIRS”).            In NIRS, the plaintiffs challenged

        27     the NRC’s decision to revise regulations governing the exemption
        28
                                                         28


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        1      standards for the transportation of radioactive material.
        2      Plaintiffs alleged that NRC failed to comply with its procedural
        3
               obligations under NEPA.          NRC objected that the plaintiffs’
        4
               procedural injuries were not redressable because the Department
        5
               of Transportation (“DOT”) had promulgated identical exemption
        6
               standards that would be unaffected by the lawsuit.         The Ninth
        7

        8      Circuit agreed with NRC and held that plaintiffs lacked standing:

        9                   The parties agreed at oral argument that NRC licensees
                            are required to follow DOT's regulations for the
        10                  transportation of nuclear material.... Thus, even if
                            we were to set aside the current NRC rule and remand to
        11                  NRC with instructions that it prepare an EIS, nothing
                            requires DOT to revisit its identical exemption
        12                  standards, which govern the universe of NRC
                            licensees.... [T]he DOT rule would control even if the
        13                  NRC rule was wiped off the books. And the DOT
                            regulation is not before us. We cannot see how an
        14                  order remanding to NRC would remedy the asserted injury
                            from the ... exemption standards because DOT would be
        15                  under no obligation to reconsider its own, identical
                            rule.
        16
               NIRS, 457 F.3d at 955; see also Center for Law & Educ. v. Dept.
        17
               of Educ., 396 F.3d 1152, 1160-61 (D.C. Cir. 2005) (causal chain
        18
               between alleged procedural violation and injury too attenuated
        19

        20     where injury was the result of regulatory action by the State of

        21     Illinois permitted but not required by federal agency against

        22     whom suit was brought).
        23            Similarly, in Renee v. Duncan, 573 F.3d 903 (9th Cir. 2009),
        24
               California public school students and their parents challenged
        25
               the Secretary of Education’s regulation allowing teachers who
        26
               participated in “alternative route programs” to be considered
        27

        28     “highly qualified” under the No Child Left Behind Act.          However,
                                               29


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        1      the Act itself also defines “highly qualified” to include a
        2      teacher who is fully certified under state law.               Id. at 906.
        3
               California’s regulations allow participants in alternative route
        4
               programs to achieve full certification status –- and thus be
        5
               “highly qualified” under the Act –- regardless of the validity of
        6
               the challenged federal regulation.              Id. at 910.   The Ninth
        7

        8      Circuit held that plaintiffs’ injuries would not be redressed by

        9      a favorable decision setting aside the federal regulation:

        10                  Because it is undisputed that the interpretation of
                            “full State certification” is a matter of state law and
        11                  that, therefore, a state can essentially decide what
                            constitutes a “highly qualified teacher,” it is
        12                  unlikely that the revocation of the regulation will
                            have a “coercive effect” upon California. Instead,
        13                  appellants’ injury is likely the result of California’s
                            independent action who is not before the court.
        14                  Accordingly, appellants have failed to meet their
                            burden of establishing redressability.
        15
               Id. at 911 (internal citation and quotations omitted); Levine,
        16
               587 F.3d at 991-997 (no standing where redressability depended on
        17

        18     “independent decision” by agency-defendant which “may be subject

        19     to a number of political and legal factors quite independent

        20     from” the court’s ruling).
        21            However, causation/redressibility may be shown if “a causal
        22
               relation[ship] is ‘probable’..., even if the chain cannot be
        23
               definitively established.”           Envtl. Def. Ctr. v. EPA, 344 F.3d
        24
               832, 867 (9th Cir. 2003); see also Coalition v. Koch, 2009 WL
        25

        26     2151842, at *13 n.6 (E.D. Cal. Jul. 16 2009)(“So long as there is

        27     evidence that the third party, whether possessing a four-

        28     chambered heart or not, will behave in a predictable manner, the
                                               30


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        1      causal chain is not necessarily rendered ‘tenuous’ for the
        2      purposes of the standing analysis.”)(emphasis added); see also
        3
               Loggerhead Turtle v. City Council, 148 F.3d 1231, 1247 (11th Cir.
        4
               1998) (“standing is not defeated merely because the alleged
        5
               injury can be fairly traced to the actions of both parties and
        6
               non-parties” (citing Lujan, 504 U.S. at 560)).
        7

        8             In National Audubon Society v. Davis, 307 F.3d 835 (9th Cir.

        9      2002), relied upon in Koch, bird enthusiasts alleged that a

        10     California law banning the use of leghold traps to capture or
        11     kill wildlife violated the Migratory Bird Treaty Act.              Id. at
        12
               842-843.     Prior to the passage of that California law, federal
        13
               officials used leghold traps against predators to protect several
        14
               bird species.       Id. at 844.      The Ninth Circuit held that
        15
               plaintiffs had standing to challenge the leghold trap ban,
        16

        17     finding their injury was “fairly traceable” to the proposition

        18     because:
        19                  [T]he federal government removed traps in direct
                            response to Proposition 4 (whether under direct “threat
        20                  of prosecution” or not). Removal of the traps leads to
                            a larger population of predators, which in turn
        21                  decreases the number of birds and other protected
                            wildlife.
        22
               Id. at 849.      “This chain of causation has more than one link, but
        23

        24     it is not hypothetical or tenuous; nor do appellants challenge

        25     its plausibility.”        Id.

        26            Here, Plaintiffs challenge FEMA’s administration of the NFIP
        27     and related programs, and assert alleged harm, in the form of
        28
                                                         31


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        1      reduced water deliveries, caused by an entirely separate
        2      regulatory action.        Plaintiffs have pointed to no legal authority
        3
               suggesting that the regulators of the CVP and SWP are under any
        4
               legal obligation to change their regulatory actions if FEMA is
        5
               forced to engage in ESA Section 7 consultation.
        6
                      Plaintiffs’ alleged injury is reduced water deliveries due
        7

        8      to the biological opinions issued in connection with the joint

        9      operation of the CVP and SWP.            As Federal Defendants acknowledge,

        10     for the purposes of this motion to dismiss, the court must
        11     assume: (a) Plaintiffs will succeed on the merits of their claims
        12
               against FEMA; (b) FEMA will engage in section 7 consultation
        13
               which will result in modifications to or elimination of the NFIP
        14
               in the Delta; (c) third party actors will suspend development
        15
               activities in the Delta; and (d) this will have a material
        16

        17     positive effect by increasing the Listed Species’ population

        18     size.    Plaintiffs insist that, if the listed species population
        19     does respond positively to FEMA’s actions, it is plausible, even
        20
               probable, that there will be immediate beneficial consequences
        21
               for the delivery of water under the biological opinions governing
        22
               the CVP and SWP.        At oral argument Plaintiffs pointed to pages
        23
               287-85 of the 2008 Delta Smelt Biological opinion dedicated to
        24

        25     describing how the incidental take limit is calculated for delta

        26     smelt based in part on the relative population abundance of smelt

        27

        28
                                                         32


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        1      measured by the Fall Midwater Trawl Index.4           The incidental take
        2      limit is considered during the adaptive management processes that
        3
               are used to trigger various pumping restrictions.           Accordingly,
        4
               if it must be assumed for purposes of a motion to dismiss that
        5
               ordering FEMA to engage in the consultation process will increase
        6
               delta smelt abundance, it is plausible that this would have a
        7

        8      salutory effect on the magnitude of reductions imposed upon the

        9      CVP and SWP.

        10            For the purposes of pleading, Plaintiffs’ allegations
        11     satisfy the causation and redressibility requirements.            Federal
        12
               Defendants’ motion to dismiss the complaint on standing grounds
        13
               is DENIED with respect to Plaintiffs’ economic/water supply
        14
               delivery theory of injury.
        15

        16     D.     Coalition’s Aesthetic/Recreational Theory of Standing.
        17            Alternatively, the Coalition alleges that it has standing to
        18
               vindicate its members’ purported interests in “boating, fishing,
        19
               and wildlife viewing,” which supposedly have been harmed by all
        20
               of the actions misjoined in the SAC.            SAC ¶¶ 19-20.   Federal
        21

        22     Defendants initially argued that this alternative theory of

        23     standing fails because (1) according to Coalition’s by-laws it

        24     “has no members”; and (2) it was not formed to promote anyone’s
        25
                      4
                      The district court may consider the biological opinion in
        26     the context of this motion to dismiss because it is a document of
               undisputed authenticity referenced within the complaint, see
        27     Parrino v. FHP, Inc., 146 F.3d 699, 706 (9th Cir. 1998); Branch
               v. Tunnell, 14 F.3d 449, 454 (9th Cir. 1994), and because it is a
        28     judicially noticeable public record, see Fed. R. Evid. 201.
                                               33


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        1      interests in boating, fishing, or wildlife viewing.
        2
                      1.    Existence of Members.
        3
                      The Coalition maintains that the statement in its by-laws
        4

        5      that it “has no members” is not dispositive of the existence of

        6      membership for purposes of standing.            The California Corporations

        7      Code defines a “member” of a corporation by the right to vote on
        8      significant corporate matters.            Cal. Corp. Code § 5056(a).   A
        9
               Nonprofit Mutual Benefit Corporation, such as the Coalition, may
        10
               “provide in its articles or bylaws that it shall have no
        11
               members.”      Cal. Corp. Code § 7310(a).       In the case of a
        12
               corporation with no “members,” any action requiring a vote shall
        13

        14     only require the approval of the board.            Id. § 7310(b)(1).

        15     However, the Coalition has non-voting members, as the Coalition’s

        16     Bylaws explain:
        17                  The corporation shall have no Members (as such term is
                            defined in Section 5056(a) of the California Nonprofit
        18                  Corporation Law, as codified in the California
                            Corporations Code (the “Code”)). Any action which
        19                  would otherwise require approval of Members shall
                            require only approval of the Board as set forth in
        20                  Section 7310(b) of the Code. The corporation’s board
                            of director’s may, in its discretion, admit individuals
        21                  to one or more classes of nonvoting members; the class
                            or classes shall have such rights and obligations as
        22                  the board finds appropriate.
        23     Decl. of Scott Hamilton, Doc. 110-2, Exh. 1, p. 1.5           The
        24
               Coalition has admitted nonvoting members such as Paul Adams and
        25
               Dee Dillon.      Id. ¶3, Exh. 2
        26

        27            5
                       Judicial notice may be taken of the Coalition’s articles of
               incorporation and bylaws. E.g., eBay Inc. v Digital Point Solutions, Inc.,
        28     608 F. Supp. 2d 1156, 1164 n.6 (N.D. Cal. 2009)
                                                         34


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        1             2.    Is the Coalition’s Purpose Germane to the Asserted
                            Aesthetic Interest of its members?
        2
                      FEMA also argues that the Coalition’s purpose is not germane
        3
               to the recreational and aesthetic interests of its members.           To
        4

        5      support this argument, FEMA cites to a portion of the Coalition’s

        6      Articles of Incorporation and 2007 Restated Articles of

        7      Incorporation, which state:
        8                   The specific and primary purposes of this Corporation
                            are to better the conditions of those engaged in
        9
                            agricultural pursuits in the San Joaquin Valley by
        10                  ensuring a sustainable and reliable water supply,
                            thereby improving of the grade of agricultural products
        11                  and developing a higher degree of efficiency in
                            agricultural operations.
        12
               McArdle Decl., Doc. 104-2, Ex. 1 at 4-5,
        13

        14            The Coalition does not dispute the absence of any

        15     aesthetic/environmental interest in these articles of

        16     incorporation.       Instead, the Coalition cites to their 2009
        17     Restated Articles of Incorporation, which state:
        18
                            The specific and primary purposes of this Corporation
        19                  are to (1) better the conditions of those engaged in
                            agricultural pursuits in the San Joaquin Valley by
        20                  ensuring a sustainable and reliable water supply,
                            thereby improving of the grade of agricultural products
        21                  and developing a higher degree of efficiency in
                            agricultural operations, and (2) promote the long-term,
        22                  ecological health of the Sacramento-San Joaquin Delta
                            and its native species.
        23
               Hamilton Decl, Doc. 110-2, at ¶¶ 4-5, Exh. 4, p. 1.         Similar
        24
               language is contained within the Coalition’s 2009 Amended and
        25
               Restated Bylaws.        Id. ¶3, Exh. 3 (Amended and Restated Bylaws) p.
        26

        27     1.   However, the 2009 Amended and Restated Bylaws are dated

        28     December 2009, while the Restated Articles of Incorporation are
                                               35


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        1      dated January 21, 2010.          Both post-date the filing of the SAC on
        2      July 23, 2009.       Doc. 75.
        3
                      “As with all questions of subject matter jurisdiction except
        4
               mootness, standing is determined as of the date of the filing of
        5
               the complaint...         The party invoking the jurisdiction of the
        6
               court cannot rely on events that unfolded after the filing of the
        7

        8      complaint to establish its standing.”           Wilbur v. Locke, 423 F.3d

        9      1101, 1107 (9th Cir. 2005)(internal quotations and citations

        10     omitted); see also Lujan, 504 U.S. at 570 n. 4 (same).           “Subject
        11     matter jurisdiction must exist as of the time the action is
        12
               commenced.”      Morongo Band of Mission Indians v. Cal. State Bd. of
        13
               Equalization, 858 F.2d 1376, 1380 (9th Cir. 1988).
        14

        15

        16

        17
                      3.    Has the Coalition Properly Alleged Organizational
        18                  standing?

        19            In the alternative, Federal Defendants argue that the

        20     allegations in the SAC are insufficient to satisfy the injury-in-
        21     fact requirement based on aesthetic/ environmental interests.
        22
               The relevant standards were set forth in Coalition for a
        23
               Sustainable Delta, 2008 WL 2899725, at *11-*13.
        24
                            In [NIRS], the Ninth Circuit started with the principle
        25                  set forth in Citizens for Better Forestry v. U.S. Dept.
                            of Agriculture, 341 F.3d 961, 971 (9th Cir.2003), that
        26                  provides “environmental plaintiffs must allege that
                            they will suffer harm by virtue of their geographic
        27                  proximity to and use of areas that will be affected by
                            the [agency's] policy.” The [NIRS] court then examined
        28                  the record for any evidence of a “geographic nexus”
                                                  36


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        1                   between the plaintiffs and the area where the alleged
                            impact will occur:
        2
                                   To show a “geographic nexus,” petitioners claiming
        3                          a violation of NEPA must allege that they will
                                   suffer harm as a result of their proximity to the
        4                          area where the alleged environmental impact will
                                   occur. We have defined the geographic nexus
        5                          requirement broadly to permit challenges to
                                   actions with wide-reaching geographic effects
        6                          where the petitioners properly allege, and support
                                   with affidavits, that they use the impacted area,
        7                          even if the impacted area is vast. See Citizens
                                   for Better Forestry, 341 F.3d at 971 (holding that
        8                          “Citizens need not assert that any specific injury
                                   will occur in any specific national forest that
        9                          their members visit,” where they “properly
                                   alleged, and supported with numerous affidavits”
        10                         their members' use and enjoyment of a “vast range
                                   of national forests”) ....
        11
                                   None of declarations submitted by members of NIRS,
        12                         Committee to Bridge the Gap, Public Citizen, or
                                   Redwood Alliance explain in any way how their
        13                         health may be affected by this regulation. They
                                   have not alleged with any specificity what
        14                         geographic areas are most likely to be affected,
                                   other than to assert that the regulations impact
        15                         highways nationwide. Nor have they alleged that
                                   they will be exposed to increases in radiation or
        16                         that they will curtail their use of public
                                   highways as a result of the regulation.
        17
                            Id. at 952. Hence, only in the context of searching for
        18                  any evidence of a “geographic nexus” did the Ninth
                            Circuit ask whether plaintiffs would “curtail” their
        19                  use of the area in question.

        20                  In Ecological Rights Foundation, 230 F.3d at 1149-50,
                            the Ninth Circuit reviewed the status of the law
        21                  regarding injury in fact:

        22                         Under Laidlaw ... an individual can establish
                                   “injury in fact” by showing a connection to the
        23                         area of concern sufficient to make credible the
                                   contention that the person's future life will be
        24                         less enjoyable-that he or she really has or will
                                   suffer in his or her degree of aesthetic or
        25                         recreational satisfaction-if the area in question
                                   remains or becomes environmentally degraded.
        26                         Factors of residential contiguity and frequency of
                                   use may certainly be relevant to that
        27                         determination, but are not to be evaluated in a
                                   one-size-fits-all, mechanistic manner.
        28
                                                         37


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        1                          Daily geographical proximity, for instance, may
                                   make actual past recreational use less important
        2                          in substantiating an “injury in fact,” because a
                                   person who lives quite nearby is likely to notice
        3                          and care about the physical beauty of an area he
                                   passes often. See Laidlaw, 120 S.Ct. at 704 (FOE
        4                          member alleged injury in fact because “he lived a
                                   half-mile from Laidlaw's facility; ... he
        5                          occasionally drove over the North Tyger River, and
                                   ... it looked and smelled polluted”); Friends of
        6                          the Earth v. Consolidated Rail Corp., 768 F.2d 57,
                                   61 (2d Cir.1985) (affiant who passed the Hudson
        7                          River regularly and found its pollution “offensive
                                   to his aesthetic values” stated injury in fact).
        8                          On the other hand, a person who uses an area for
                                   recreational purposes does not have to show that
        9                          he or she lives particularly nearby to establish
                                   an injury-in-fact due to possible or feared
        10                         environmental degradation. Repeated recreational
                                   use itself, accompanied by a credible allegation
        11                         of desired future use, can be sufficient, even if
                                   relatively infrequent, to demonstrate that
        12                         environmental degradation of the area is injurious
                                   to that person. Id. at 705 (finding that an
        13                         individual who has canoed in the river and would
                                   do so again, closer to the discharge point, were
        14                         it not for the discharges has made a sufficient
                                   “injury-in-fact” showing). An individual who
        15                         visits Yosemite National Park once a year to hike
                                   or rock climb and regards that visit as the
        16                         highlight of his year is not precluded from
                                   litigating to protect the environmental quality of
        17                         Yosemite Valley simply because he cannot visit
                                   more often.
        18
                            This flexible approach is the only one consistent with
        19                  the nature of the aesthetic and recreational interests
                            that typically provide the basis for standing in
        20                  environmental cases. As the Supreme Court has
                            explained, “[a]esthetic and environmental well-being,
        21                  like economic well-being, are important ingredients of
                            the quality of life in our society.” Sierra Club, 405
        22                  U.S. at 734. Yet, aesthetic perceptions are necessarily
                            personal and subjective, and different individuals who
        23                  use the same area for recreational purposes may
                            participate in widely varying activities, according to
        24                  different schedules. Laidlaw confirms that the
                            constitutional law of standing so recognizes, and does
        25                  not prescribe any particular formula for establishing a
                            sufficiently “concrete and particularized,” Defenders
        26                  of Wildlife, 504 U.S. at 560, aesthetic or recreational
                            injury-in-fact.
        27
                      The SAC alleges that Coalition members visit the Delta and
        28
                                                         38


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        1      appreciate and use the Delta ecosystem in a variety of ways,
        2      including routinely engaging in boating, fishing, and wildlife
        3
               viewing activities.6         SAC ¶19.     The SAC also alleges that
        4
               Coalition members derive significant enjoyment from these
        5
               activities, and that such enjoyment is linked to the health of
        6
               the Delta ecosystem and the Listed Species in particular.             Id.
        7

        8      The SAC further alleges that FEMA’s administration of the Flood

        9      Insurance Program adversely impacts the Listed Species and the

        10     Delta, SAC. ¶¶ 6, 20, 197-203, 207-208, 210, thereby negatively
        11     impacting the Coalition members by impairing their use and
        12
               enjoyment –- e.g., wildlife viewing –- of the Delta and Listed
        13
               Species, SAC ¶19.        Essentially, the Coalition maintains that its
        14

        15
                      6
                      To support its assertion that it has at least one member
        16     with aesthetic/conservation interest harmed by the challenged
               actions, the Coalition requests that judicial notice be taken of
        17     the Declaration of Coalition member Dee Dillon, which was
               submitted by the Coalition in connection with Plaintiffs’ motion
        18     for summary judgment in the related Coalition for a Sustainable
               Delta v. Koch, 1:08-cv-397 lawsuit (the “striped bass” lawsuit).
        19     Doc. 111, Exh. 5. “A judicially noticed fact must be one not
               subject to reasonable dispute in that it is either (1) generally
        20     known within the territorial jurisdiction of the trial court or
               (2) capable of accurate and ready determination by resort to
        21     sources whose accuracy cannot reasonably be questioned.” Fed. R.
               Evid. 201(b). Although it is appropriate to take judicial notice
        22     of the existence or content of declarations filed as part of an
               official court record, see Reyn’s Pasta Bella, LLC v. Visa USA,
        23     Inc., 442 F.3d 741, 746 (9th Cir. 2006), Plaintiffs’ seek to rely
               on the Dillon Declaration for the truth of its contents. This is
        24     not a permissible use of a judicially noticed document. See Lee
               v. City of Los Angeles, 250 F.3d 668, 690 (9th Cir. 2001) (“On a
        25     Rule 12(b)(6) motion to dismiss, when a court takes judicial
               notice of another court’s opinion, it may do so not for the truth
        26     of the facts recited therein, but for the existence of the
               opinion, which is not subject to reasonable dispute over its
        27     authenticity.”) (internal quotation marks and citation omitted).
               Because the Coalition relies on the declaration for the truth of
        28     the matters asserted therein, the request is DENIED.
                                               39


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        1      members are interested in the conservation of the listed species,
        2      which is germane to the organizational purpose of “promoting the
        3
               long-term, ecological health of the Sacramento-San Joaquin Delta
        4
               and its native species.”
        5
                      The germaneness test for associational standing is not
        6
               demanding.      For example, in Presidio Golf Club v. Nat’l Park
        7

        8      Serv., 155 F.3d 1153, 1159 (9th Cir. 1998), plaintiff had

        9      organizational standing to assert a claim under the National

        10     Environmental Policy Act because the “Club’s stated purpose to
        11     ‘improve and maintain grounds and buildings for athletic
        12
               purposes’ implies the corollary purpose of maintaining an
        13
               environment, both natural and built, suitable for the game of
        14
               golf and post-game activities.”            Here, the Coalition’s stated
        15
               purpose of promoting the long-term ecological health of the
        16

        17     Sacramento-San Joaquin Delta and its native species directly

        18     implicates the conservation and aesthetic interests allegedly
        19     expressed by its members.           The Coalition’s interest in
        20
               conservation is just as valid as the conservation interests of an
        21
               environmental organization.           Where, as is often the case, the
        22
               health of an ecosystem impacts the economic well being of humans,
        23
               those impacted economically can organize themselves to promote
        24

        25     conservation.

        26            Federal Defendants also attack the complaint on the ground

        27     that it does not allege the name of any individual member whose
        28
                                                         40


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        1      aesthetic interests have been harmed.           But, Federal Defendants
        2      point to no authority requiring such specificity in a complaint.
        3
               Individual members of organizations seeking standing typically
        4
               file declarations in connection with motions for summary judgment
        5
               on the issue of standing.           See N.W. Envt’l Defense Ctr. v. Brown,
        6
               476 F. Supp. 2d 1188 (D. Or. 2007)(“Most of the cases cited by
        7

        8      defendants ... hash out this issue in a motion for summary

        9      judgment when there is an evidentiary record, typically in the

        10     form of a declaration from an individual member explaining their
        11     particular use of the area and injury suffered by the
        12
               environmental harm. Because this is a motion to dismiss, there is
        13
               no such declaration.”).
        14
                      Nevertheless, the Coalition’s conservation interests were
        15
               not included in the Coalition’s Articles of Incorporation until
        16

        17     after the SAC was filed.          Therefore, this purpose cannot form the

        18     basis of the Coalition’s standing unless the SAC is amended.
        19
                      4.    Leave to Amend.
        20
                      Federal Defendants maintain that it is improper for the
        21

        22     district court to grant Plaintiffs leave to amend, citing

        23     Morongo, 858 F.2d at 1380, which held:          “If jurisdiction is

        24     lacking at the outset, the district court has no power to do
        25     anything with the case except dismiss.”           Id.   Morongo concerned
        26
               an Indian tribe’s assertion of jurisdiction under various
        27
               provisions of Title 28.          The Ninth Circuit rejected all of the
        28
                                                         41


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        1      Tribe’s asserted bases for jurisdiction and held that, because
        2      jurisdiction itself was lacking at the time the complaint was
        3
               filed, leave to amend should not have been granted.          Id. at 1381-
        4
               87.    The Ninth Circuit noted:
        5
                            When the district court has jurisdiction over the
        6                   action at the outset but the complaint inadequately
                            alleges jurisdiction, the court may grant leave to
        7                   amend the defective allegations. See 28 U.S.C. § 1653
                            (1982) (“Defective allegations of jurisdiction may be
        8                   amended, upon terms, in the trial or appellate
                            courts.”). Section 1653 provides a remedy for defective
        9                   allegations only; “it does not provide a remedy for
                            defective jurisdiction itself.” Field v.
        10                  Volkswagenwerk AG, 626 F.2d 293, 306 (3d Cir. 1980)(2-
                            1); accord Brennan v. University of Kansas, 451 F.2d
        11                  1287, 1289 (10th Cir.1971) (section 1653 empowers the
                            courts to correct “defects of form, not substance”)
        12                  (footnote omitted).
        13     Id. at 1382 n.3.        In contrast, where jurisdiction is lacking,
        14     “the district court ... ha[s] no power to grant ... leave to
        15
               amend ....”      Id.
        16
                      Here, with respect to the allegations of
        17
               aesthetic/conservation injury, standing was lacking at the time
        18
               the complaint was filed.          However, Plaintiffs’ assertion of
        19

        20     standing based on economic injury survives this motion to

        21     dismiss.     Therefore, subject matter jurisdiction is not entirely

        22     lacking and leave to amend may be granted.
        23
                                                 V. CONCLUSION
        24
                      For all the reasons stated above, Federal Defendants’ motion
        25

        26     to dismiss for lack of standing:

        27            (1) DENIED as to Plaintiffs’ assertions of economic injury;
        28
                                                         42


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        1      and
        2             (2) GRANTED as to the Coalition’s assertions of
        3
               aesthetic/conservation injury because the Coalition did not
        4
               express aesthetic or conservation interests as one of its
        5
               organizational purposes prior to the filing of the complaint.
        6
                      Plaintiffs shall have thirty (30) days from electronic
        7

        8      service of this memorandum decision to file an amended complaint.

        9

        10     SO ORDERED
        11     DATED:     May 10, 2010
        12
                                                         /s/ Oliver W. Wanger
        13                                                 Oliver W. Wanger
                                                      United States District Judge
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